                        IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION



 CONCORD MUSIC GROUP, INC., ET AL.,

         Plaintiffs,                                  Case No. 3:23-cv-01092

 v.
                                                      Chief Judge Waverly D. Crenshaw, Jr.
 ANTHROPIC PBC,                                       Magistrate Judge Alistair Newbern

         Defendant.


                         DECLARATION OF JULIA LOWD
                  IN SUPPORT OF DEFENDANT’S OPPOSITION TO
               PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       I, Julia Lowd, declare the following:

       1.       I am a Member of Business Operations Staff, Product Business at Anthropic PBC

(“Anthropic”) and submit this declaration in support of Anthropic’s Opposition to Plaintiffs’

Motion for Preliminary Injunction. Unless otherwise stated, all facts set forth in this declaration

are within my personal knowledge.

       2.       I have been a Member of Business Operations Staff, Product Business at Anthropic

since 2023. My responsibilities in my current position include operationalizing account

onboarding, maintenance, and payments, including the sign-up flow for people who want to use

Anthropic’s services, as well as managing the team that provides support to users of Anthropic’s

services. I have substantial knowledge about Anthropic’s business operations and practices. If

called upon, I would be willing to testify as set forth in this declaration.

       A.       Anthropic’s Sign-Up Process and Terms of Service

       3.       Founded in 2021, in San Francisco, California, Anthropic is an artificial

intelligence (“AI”) safety and research company that aims to create reliable, beneficial AI systems.



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Anthropic’s signature product is a series of AI models known as Claude. See Decl. of Jared Kaplan

¶¶ 6-12 (filed simultaneously).

       4.      Anthropic offers Claude to all Claude.ai users in the U.S. subject to the same Terms.

To access Claude, a user must first create an account on the Anthropic website, https://claude.ai/.

To create an account, the user must: (i) enter and verify their e-mail address, (ii) verify that the

user is over 18 years old, and (iii) agree to and acknowledge Anthropic’s hyperlinked Terms of

Service, Acceptable Use Policy, and Privacy Policy. By checking the box and clicking “Continue,”

the user specifically agrees to—and is bound by—Anthropic’s Terms of Service. Under normal

system functionality, nobody can use Claude.ai without creating an account and agreeing to the

Terms of Service. Attached as Exhibit A and shown below is a true and correct screenshot of the

current account creation page on https://claude.ai.




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       5.      Additionally, before a new user is able to actually interface with Claude, Anthropic

welcomes the user with a handful of disclaimers regarding the product, including that it may

display incorrect or harmful information, is not intended to give professional legal, financial, or

medical advice, and an explicit reminder that “your use of Claude is covered by our Terms of

Service and Privacy Policy.” The phrase Terms of Service is bolded and underlined with a

hyperlink that takes the user directly to the full text of the Terms. Attached as Exhibit B and shown

below is a true and correct screenshot of the additional notification provided by Anthropic before

the user can submit prompts to Claude.




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       6.      Attached as Exhibit C is a true and correct copy of Anthropic’s current Terms of

Service, effective September 6, 2023 through February 2, 2024.

       7.      Anthropic updates its Terms of Service from time to time. Attached as Exhibit D

is a true and correct copy of Anthropic’s Terms that went into effect July 8, 2023 and remained in

effect through September 5, 2023. Attached as Exhibit E is a true and correct copy of Anthropic’s

Terms that went into effect March 29, 2023 and remained in effect through July 7, 2023. Attached

as Exhibit F is a true and correct copy of Anthropic’s Terms that went into effect February 23,

2023 and remained in effect through March 28, 2023.

       8.      Anthropic’s current Terms, which govern the use of Anthropic’s website, products,

and services, including Claude, as of September 6, 2023 contain an “Exclusive Jurisdiction”

provision. That provision makes clear that any disputes arising out of or relating to the Terms will

be exclusively resolved in the state or federal courts located in San Francisco, California. Anthropic

and its users explicitly submit to personal and exclusive jurisdiction in those courts, including the

Northern District of California. The Terms provide as follows:

               Governing Law; Exclusive Jurisdiction. [Anthropic’s] Terms will
               be governed by, and construed and interpreted in accordance
               with, the laws of the State of California without giving effect to
               conflict of law principles. You and Anthropic agree that any
               disputes arising out of or relating to these Terms will be resolved
               exclusively in the state or federal courts located in San
               Francisco, California, and you and Anthropic submit to the
               personal and exclusive jurisdiction of those courts. By using the
               Services, you waive any claims that may arise under the laws of
               other jurisdictions.

Ex. C, Section 14(i) (emphasis added).1



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  As of February 3, 2024, Anthropic’s updated version of its Terms of Service will take effect.
These forthcoming terms are available at https://console.anthropic.com/legal/terms and include the
same “Exclusive Jurisdiction” provision provided in the current Terms. Attached as Exhibit G is
a true and correct copy of those Terms of Service.
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       9.      Anthropic’s Terms have always required that California law govern and that any

specific dispute resolution or litigation take place in San Francisco, California. For instance, earlier

versions of the Terms included arbitration provisions that required resolution of “any legal or

equitable claim, dispute, action, or proceeding arising from or related to your use of the services

or these terms” in San Francisco, California. Ex. D, Section 15 & id. 15(c); Ex. E, Section 14 &

id. Section 14(c); Exhibit F, Section 14(a). Those versions of the Terms also stated that,

notwithstanding the arbitration provision, should a dispute be litigated, the user and Anthropic

would submit to exclusive and personal jurisdiction in San Francisco, California. Ex. E, Section

15(i); Ex. F, Section 15(i).

       10.     In addition to agreeing to litigate any resulting claims in San Francisco, California,

users that accept Anthropic’s Terms also agree not to request the output of copyrighted material

pursuant to the Terms. The current Terms include, in part, that users “may not access or use

[Anthropic’s] Services in . . . any manner that violates any applicable law” or use Anthropic’s

Services “[t]o infringe, misappropriate, or violate intellectual property or other legal rights

(including the rights of publicity or privacy).” Ex. C, Section 4. Users further “represent and

warrant that you have all rights, and have provided any notices and obtained any consents, that are

necessary for us to process any Prompts you submit to the Services in accordance with our Terms.”

Id. Section 6(a). Intentionally prompting Anthropic’s AI models to reproduce copyrighted content

without authorization would violate these Terms.

       11.     These prohibitions existed in earlier versions of the Terms from Anthropic’s

inception. Ex. D, Section 4; Ex. E, Section 4; Ex. F, Section 4.




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       B.       Plaintiffs’ Anthropic User Accounts

       12.      Anthropic’s records show that several users associated with Plaintiffs—or acting

on behalf of Plaintiffs—created accounts on Anthropic’s website, thereby accepting and agreeing

to be bound by Anthropic’s Terms, both before and after the filing of Plaintiffs’ complaint.

       13.      For example, Anthropic’s records show that Alisa Coleman, Chief Operating

Officer at ABKCO Music, Inc., created an Anthropic account on November 9, 2023, and provided

the email address                              in connection with the Anthropic account.

       14.      Anthropic’s records show that Duff Berschback, Executive Vice President of

Business and Legal Affairs at Concord Music Group, Inc. created an Anthropic account on

November 14, 2023, and provided the email address                                     in connection

with the Anthropic account.

       15.      Anthropic’s records also show that David Kokakis, Chief Counsel at Universal

Music Publishing Group, created an Anthropic account on November 15, 2023, and provided the

email address                             in connection with the Anthropic account.

       16.      I further understand that third-party consultants associated with Plaintiffs in the

present litigation also created accounts through the Anthropic website as early as June 9, 2023.

       17.      In particular, Anthropic’s records indicate                       of BCGuardian

(whose Director of Intelligence provided a declaration in support of Plaintiffs’ motion) created an

Anthropic account on June 9, 2023, from which he alone generated 3,217 prompts between

October 1, 2023 and October 17, 2023. The vast majority of those prompts asked Claude to

reproduce outputs consisting of song lyrics or chord progressions. In many instances, those efforts

failed. Below are two examples of failed attempts, true and correct copies of which are attached as

Exhibits H and I.



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     Executed on January 15, 2024 at Seattle, Washington.


                                                             _______________________
                                                             Julia Lowd




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